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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                   Case No. 1:10-cr-254

v.                                                         HON. JANET T. NEFF

MANUEL VERDUZCO,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Manuel Verduzco has filed a motion for modification or reduction of sentence

(Dkt 251) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department has filed a Sentence Modification Report (Dkt 285) and Defendant has filed a Response

(Dkt 286).

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

       Having fully considered the Sentence Modification Report (Dkt 285) and Defendant’s

response (Dkt 286), the Court has determined that the defendant is ineligible for a reduction of

sentence according to the policy statements of the U.S. Sentencing Commission.
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       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 251) pursuant to 18 U.S.C. § 3582(c)(2) is DENIED as defendant was originally sentenced

below his guideline range.




DATED: February 17, 2016                          /s/ Janet T. Neff
                                                 JANET T. NEFF
                                                 United States District Judge




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